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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               EASTERN DIVISION

BRANDON MENG                                                                       PLAINTIFF

VS.                                               CIVIL ACTION NO. 2:24-cv-199-KS-MTP

WILLIAM CAREY UNIVERSITY,
acting through its Division of the College of
Osteopathic Medicine,
ITALO R. SUBBARAO, D.O., and
EDWARD FRIEDLANDER, M.D.                                                       DEFENDANTS

DEFENDANTS DEAN SUBBARAO AND WILLIAM CAREY UNIVERSITY’S MOTION
 TO DISMISS FOR FAILURE TO STATE A CLAIM UNDER FED. R. CIV. P. 12(B)(6)

       Defendants Italo R. Subbarao, D.O. and William Carey University (“WCU”) (collectively,

“Defendants”) file this Motion to Dismiss and in support thereof show unto the Court the

following:

       1.     Plaintiff Brandon Meng (“Plaintiff”) alleges several claims against Defendants that

arise from discipline during his time as a student at WCU’s College of Osteopathic Medicine

(“COM”). [Dkt. #1].

       2.     The Court must dismiss these claims under Fed. R. Civ. P. 12(b)(6) for failure to

state a claim for the reasons contained in the memorandum brief contemporaneously herewith.

       3.     In addition to that memorandum brief, Defendants attach the following exhibit:

              •       Exhibit A: WCU COM Student Handbook

       WHEREFORE, Defendants Italo R. Subbarao, D.O. and William Carey University request

that the Court grant this Motion to Dismiss and dismiss these claims against them with prejudice.

       This, the 12th day of March, 2025.

                                            Respectfully submitted,

                                            ITALO R. SUBBARAO, D.O. and WILLIAM
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                                             CAREY UNIVERSITY, DEFENDANTS

                                             By:     /s/ Charles E. Cowan
                                                     CHARLES E. COWAN (MSB #104478)

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                                CERTIFICATE OF SERVICE

        I, Charles E. Cowan, hereby certify that I have electronically filed the foregoing with the
Clerk of Court using the ECF system, which automatically sent email notification to all counsel of
record.

       SO CERTIFIED: March 12, 2025

                                                     /s/ Charles E. Cowan
                                                     CHARLES E. COWAN




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